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Fl*_ED 'S\W_ D.C.

|N THE UN|TED STATES D|STRlCT COURT
FOR THE WESTERN D|STR|CT OF TENNESS .
WESTERN DlVlS|ON §§ JUL 20 AH m 05

 

UNlTED STATES OF A|V|ER|CA

 

Plaintiff

VS.
CR. NO. 04-20221-D

A|W-\L|A i_. MARCELLA

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause is scheduled for a report date on July 21, 2005. Counse| for the
defendantfi|ed a motion seeking a continuance of the August 1, 2005 trial date in order to
allow for additional preparation in the case.

The Court granted the motion and reset the trial date to September 6, 2005 with a

report date of Thursday, August 25l 2005l at 9:00 a.m., in Courtroorn 3 9th F|oor of the
Federal Bui|ding, Memphis, TN.

 

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need fora speedy trial.

lT ls so 0RDERED this g day of July, 2005.

 

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wis 55 andfor 32(b) FHCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:04-CR-20221 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

